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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                            CRIMINAL CASE NO.
                                               1:11-cr-00255-TWT-RGV
 STACEY DOOLEY


              ORDER FOR SERVICE OF MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

      Attached is the Report and Recommendation of the United States Magistrate

Judge made in accordance with 28 U.S.C. § 636(b)(1) and Local Criminal Rule 59(2)(a)-

(b). Let the same be filed and a copy, with a copy of this Order, be served upon

counsel for the parties.

      Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within fourteen (14) days of receipt of this Order.

Should objections be filed, they shall specify with particularity the alleged error(s)

made (including reference by page number to the transcript if applicable) and shall

be served upon the opposing party. The party filing objections will be responsible for

obtaining and filing the transcript of any evidentiary hearing for review by the

District Court. Failure to object to this Report and Recommendation waives a party’s

right to review. Fed. R. Crim. P. 59(b)(2).
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      Pursuant to Title 18, U.S.C. § 3161(h)(1)(D) and (H), the above-referenced

fourteen (14) days allowed for filing objections is EXCLUDED from the

computation of time under the Speedy Trial Act, whether or not objections are

actually filed. The Clerk is DIRECTED to submit the Report and Recommendation

with objections, if any, to the District Court after expiration of the above time period.

      IT IS SO ORDERED, this 6th day of September, 2012.



                                        RUSSELL G. VINEYARD
                                        UNITED STATES MAGISTRATE JUDGE




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
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 v.                                              CRIMINAL CASE NO.
                                                 1:11-cr-00255-TWT-RGV
 STACEY DOOLEY


        MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

      Defendant Stacey Dooley (“Dooley”) is one of nine defendants charged in a

fifteen-count indictment with (1) unlawfully obstructing, delaying, and interfering

with interstate commerce by taking personal property in the custody and control of

armored car couriers by means of actual and threatened force, violence, and fear of

injury, and conspiring to do so, in violation of 18 U.S.C. §§ 1951 and 2; (2) carrying

and using a firearm in relation to a crime of violence, in violation of 18 U.S.C. §§

924(c)(1)(A)(ii) and 2; and (3) using a firearm in relation to a crime of violence wherein

a death occurred, in violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1), and 2. See [Doc.

312].1 Dooley moves to suppress evidence seized from his vehicle pursuant to an

allegedly constitutionally defective warrant. [Doc. 212]. The government has filed


        1
        The listed document and page numbers in citations to the record in this
 Report and Recommendation refer to the document and page numbers shown on
 the Adobe file reader linked to the Court’s electronic filing database, CM/ECF.
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a response, [Doc. 282], to which Dooley has filed a reply, [Doc. 297]. For the following

reasons, it is RECOMMENDED that Dooley’s motion to suppress, [Doc. 212], be

DENIED.

                             I. STATEMENT OF FACTS

         Dooley was arrested around 8:30 a.m. on March 30, 2011. [Doc. 212-1 (Impala

Warrant & Application) at 27, 29]. At the time of his arrest, Dooley was driving a red,

2008 Chevy Impala LT 4S (the “Impala”). [Id.]. Later that day, Detective A.R. Whaley

(“Detective Whaley”) of the Gwinnett County Police Department (“GCPD”)

submitted an affidavit and application for a search warrant for the Impala, [id. at 1],

and a second, but substantially identical, affidavit and application for a search

warrant for a residence located at 5015 Michael Jay Street, Snellville, Georgia (the “Jay

Street residence”), see [Doc. 212-2 ( Jay Street Residence Warrant & Application)]. At

3:47 p.m. that day, a Gwinnett County Superior Court Judge signed a warrant

authorizing law enforcement officers to search the Jay Street residence. See [id. at

1727].    Eight minutes later, at 3:55 p.m., the same judge signed the warrant

authorizing law enforcement officers to search the Impala. [Doc. 212-1 at 1824].

         The affidavit submitted with the search warrant applications outlines the

investigation of the GCPD and the Federal Bureau of Investigation (“FBI”) into a




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series of armored car robberies. See [Id. at 3-8].2 Specifically, the affidavit describes

how police identified a 2008-2009 Buick La Crosse Super at the scene of one of the

robberies, obtained a list of every registered black 2008-2009 Buick La Crosse Super

in the state of Georgia, and narrowed that list down to eight vehicles based on a

comparison of the robbery victims’ descriptions of the suspects to the license photos

of the car owners. See [id. at 8]. Further investigation revealed that only one vehicle,

a dark brown Buick La Cross Super owned by Anita Booker (“A. Booker”), was a

potential match. [Id. at 9]. The affidavit then describes how fingerprints, phone

records, and information from informants3 led police to identify more individuals

allegedly involved in the string of armored car robberies, including Booker, who was

married to A. Booker, the owner of the Buick La Crosse. [Id. at 9-14, 17-18, 21-22].


        2
        Since the affidavits for the two search warrants are identical, this Report and
 Recommendation will cite only to the affidavit accompanying the Impala warrant,
 [Doc. 212-1], when referring to the facts in the affidavit.
        3
         In particular, the affidavit relates information from interviews with Warren
 Pope (“Pope”), Tramel Bennett (“Tramel”), and Donavan Thomas, who had all
 spoken with Christopher Bennett (“Christopher”), an alleged co-conspirator in the
 robberies whose fingerprints were recovered from a getaway vehicle and whose
 body was discovered on January 26, 2011, in DeKalb County. See [Doc. 212-1 at 9,
 11]. These individuals informed police that Christopher had admitted to them his
 involvement in the armored car robberies and told them that co-defendant Quentin
 Booker (“Booker”) was responsible for planning the robberies. [Id. at 11-12]. Pope
 also told police that Christopher had informed him that “Chicken” and “Teddy”
 were also involved in the robberies. [Id. at 12]. Tramel confirmed that “Chicken”
 and “Teddy” were part of Booker’s “crew.” [Id. at 14]. The investigation later
 revealed that “Chicken” was Dooley’s nickname. [Id. at 19].

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Phone records revealed that Booker’s cell phone was in close proximity to each of the

armored car robberies being investigated and that it moved away from each location

immediately after the robbery took place. [Id. at 18].

      Detective Whaley further reports in the affidavit that during the investigation,

court-authorized interceptions of communications revealed that Dooley called Booker

on March 20, 2011, and that the two men engaged in a conversation, allegedly

speaking in “code” about an earlier armored car robbery and preparation for the next

robbery. [Id. at 19-21].4 In this conversation, Dooley also mentioned a red vehicle he

owned that had been stolen, but which he had recovered. [Id.]. The Impala, a red

vehicle, which was registered to Dooley’s girlfriend, Desiree Jones (“Jones”), had been




       4
         Detective Whaley stated that “based upon [his] training and experience,
 [speaking in code] is a common tactic used by individuals engaged in criminal
 activity in an attempt to conceal their illegal endeavors.” [Doc. 212-1 at 19].
 Specifically, during the conversation Dooley told Booker that “shit was ugly and
 unreal and Booker acknowledged him.” [Id.]. Dooley then stated that “they were
 just giving that pussy away” and talked about how they “didn’t do their
 ‘homework,’” but that he had already “put the homework in.” [Id. at 20]. Booker
 asked him when he “wants to do that” and Dooley replied “whenever you’re
 ready.” [Id.]. Detective Whaley believed that this conversation referenced a murder
 during a DeKalb County armored car robbery which had taken place on March 15,
 2011. [Id. at 19-20]. He believed that Dooley was telling Booker that it was easy to
 rob guards, but that the last robbery had not been preceded by sufficient
 surveillance and intelligence. [Id. at 20]. Detective Whaley interpreted the rest of
 the conversation to indicate that Dooley had already done some surveillance on a
 new target, so he was ready for another armed robbery whenever Booker was. [Id.].

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observed parked outside Dooley’s home, the Jay Street residence.5 [Id. at n.4]. On

March 17, 2011, a detective observed another vehicle that had been identified at one

of the armed robberies, a Buick Park Avenue, parked outside Dooley’s home. [Id. at

22].

       The affidavit then continues to summarize information obtained from GPS

tracking and ground surveillance of the Impala. See [id. at 26-27]. The GPS tracking

system on the Impala, which several surveillance units had seen Dooley driving,6

indicated that the vehicle left Dooley’s residence on March 27, 2011, and traveled to

DeKalb County, where it circled and sat in the parking lot of a Wells Fargo Bank on

the same armored car route as two other bank locations that Booker had allegedly

previously surveilled. [Id. at 26]. Based on the driving pattern, Detective Whaley

believed that “the vehicle was possibly checking for routes of escape, to distinguish

from dead-end streets, and for a place to possibly abandon a vehicle.” [Id.]. On


        5
         The Jay Street residence was identified as Dooley’s residence because he had
 a current water account at that address. [Doc. 212-1 at 21].
        6
          For example, the affidavit describes an event on March 22, 2011, when
 surveillance at Dooley’s Jay Street residence revealed two males, one of whom was
 identified as Dooley, enter the Impala. [Doc. 212-1 at 23 (stating that a GPS “ping”
 (identifying the position of a cell phone through GPS data) revealed that Dooley’s
 phone, the number of which had been previously identified, was located in the
 Impala at that time)]. The Impala drove to a Bank of America, where video
 surveillance and bank records indicate that either Dooley or his brother, Donyale
 Dooley, see [id. at 19], who both have a similar build and facial features and use
 each other’s names, entered the bank to conduct a transaction, [id. at 23].

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March 29, 2011, GPS tracking and ground surveillance revealed that the Impala

traveled to a Bank of America in Duluth, once again driving around the building and

surrounding area. [Id.]. The Impala then returned to Dooley’s Jay Street residence,

where Dooley spoke with Jones via telephone. [Id.]. Detective Whaley stated that he

believed this conversation was likely about an impending armed robbery,

corroborating earlier conversations where Dooley had told Jones he was going to get

some money so that they could go to North Carolina and get married.7 [Id. at 27].

      The affidavit states that on March 30, 2011, Dooley again drove the Impala to

the Bank of America in Duluth. [Id.]. FBI ground surveillance, a GPS tracker, and

phone pings all confirmed that Dooley was in the Impala traveling to the bank. [Id.].

The Impala again drove around in a manner consistent with “casing” the bank. [Id.].

At 8:07 a.m., Dooley called Jones, and their conversation contained frustrated,

profanity-laced references to the armored car guards and the planned robbery, and

a discussion of Dooley’s alleged accomplice, Ashley Henderson (“Henderson”), and

his role in getting rid of the car. [Id. at 27-28]. Dooley then placed a phony 911 call,

which Detective Whaley testified was likely an attempt to create a diversion by

reporting a false crime at a location away from the bank. [Id. at 28]. Dooley then

       7
         Specifically, Jones asked Dooley if everyone would be shocked, and Dooley
 confirmed but stated that he was scared and nervous. [Doc. 212-1 at 27]. Dooley
 also told Jones that “after this one, they will be done,” and that he and Jones would
 be able to get married and be happy. [Id.].

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placed another call to Jones, telling her he “can’t do it,” indicating that Dooley had

realized he was under FBI surveillance. [Id. at 28-29]. He gave Jones instructions to

initiate a three-way call that permitted him to communicate with Henderson, who

was on foot at the Bank of America location, and call off the armed robbery, telling

Henderson that “them big boys are following us.” [Id. at 29]. FBI agents saw Dooley

pick Henderson up in the Impala, which then left the area of the bank. [Id.]. FBI

surveillance teams stopped the Impala and detained both occupants: Dooley, who

was driving, and Henderson, the passenger. [Id.].

                                  II. DISCUSSION

      Dooley moves to suppress all evidence obtained from the search of his vehicle,

contending that the application and affidavit did not establish probable cause to issue

a search warrant for the Impala because the “affidavit in support of that warrant

stated that the affiant believed that the evidence presented in the affidavit established

‘probable cause to search the residence at 5015 Michael Jay Street . . . .’” [Doc. 212 at

2-3]. In response, the government asserts that “the affidavit to the search warrant

merely contains an error, and a simple error does not translate into a constitutional

violation.” [Doc. 282 at 2]. The government contends that when read in the context

of the entire warrant and affidavit, it becomes “abundantly clear” that the affidavit




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and warrant at issue identified Dooley’s vehicle.8 [Id.]. The government also asserts

that even if the search warrant was insufficient under the Fourth Amendment,

suppression of the evidence is not required under the good faith exception to the

exclusionary rule. [Id. at 2-3]. Dooley replies by reasserting that the affidavit did not

establish probable cause to search the Impala, noting that the Impala affidavit lists

“documents relating to ownership of residence and actual identity of occupants at

residence” and the Impala itself as items to be “searched for and seized,” indicating

that the residence, not the Impala, was the focus of the affidavit. [Doc. 297 at 3]. He

also contends that the government failed to meet its burden to show that the good

faith exception to the exclusionary rule applies.9 [Id. at 4-5].


        8
         The government characterizes Dooley’s argument as a challenge to the
 particularity of the search warrant. See [Doc. 282 at n.1]. However, in his reply,
 Dooley specifically states that he “is not raising a particularity challenge to the
 search warrant,” but is instead asserting that “the warrant is defective because it
 does not establish probable cause to search the car.” [Doc. 297 at 4]. In response to
 this assertion, the government filed a sur-reply addressing the probable cause
 argument. [Doc. 306]. Accordingly, the undersigned will evaluate Dooley’s
 argument by evaluating whether the warrant was supported by probable cause.
        9
          Dooley also mentions that he has “challenged the placement of the GPS
 tracking device on his vehicle” in a separate motion, and that since the warrant
 pertaining to the Impala relied in part upon the information learned from the GPS
 tracking at issue, it is subject to suppression as a fruit of that illegal search. See [Doc.
 212 at 6 n.1]. This independent basis for suppressing evidence seized as a result of
 the search of the Impala will be addressed in a separate Report and
 Recommendation concerning the warrantless placement of GPS tracking devices,
 and at this time the Court will consider only whether the affidavit established
 probable cause to search the vehicle, instead of just the Jay Street residence, as

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A.    Sufficiency of the Impala Search Warrant

      The Fourth Amendment provides that “no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized.” U.S. Const. amend. IV;

see also Fed. R. Crim P. 41(c); United States v. Young, No. CR210-065, 2011 WL

494776, at *2 (S.D. Ga. Jan. 20, 2011), adopted by 2011 WL 497471, at *1 (S.D. Ga. Feb.

7, 2011). Considering the totality of the circumstances, a determination of probable

cause entails a “practical, common-sense decision . . . [by the issuing judge], . . . [that]

there is a fair probability that . . . evidence of a crime will be found in a particular

place.” Illinois v. Gates, 462 U.S. 213, 238 (1983). An issuing judge’s probable cause

determination “is to be given great deference and is conclusive, if reasonable, absent

arbitrariness.” United States v. Sweeting, 933 F.2d 962, 964 (11th Cir. 1991) (citations

omitted); see also United States v. Ventresca, 380 U.S. 102, 109 (1965); United States

v. Scott, 555 F.2d 522, 527 (5th Cir. 1977).10

      Under this standard, the Court finds that there was probable cause to issue the

search warrant for the Impala. The lengthy affidavit submitted in support of the



 Dooley contends.
        10
          In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc),
 the Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
 Circuit rendered prior to October 1, 1981.

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application for the search warrant connects Booker and the robberies to Dooley and

then connects Dooley to the Impala. See [Doc. 212-1 at 3-22]. The affidavit clearly sets

out facts, including intercepted telephone conversations discussing the robbery and

police surveillance of the Impala while it appeared to be “casing” the Bank of

America, from which the issuing judge could find probable cause to believe that

Dooley was using the Impala in connection with planning a robbery. [Id. at 26-29].

Moreover, the affidavit establishes that Dooley was driving the Impala on March 30,

2011, when he was arrested, and sets forth facts, including Dooley’s conversations

with Jones and Henderson, that provide ample support for the affiant’s belief that

Dooley intended to commit a robbery that day while driving the Impala, but called

it off when he realized that he was under surveillance. [Id. at 27-29]. Accordingly,

the affidavit does much more than merely “mention[] the place to be searched,” [Doc.

297 at 2]; it establishes a “fair probability” that evidence of a planned armed robbery

would be found in the Impala, the vehicle that Dooley was driving while

communicating on a cell phone with other individuals as they appeared to be

preparing to commit a robbery and when he was arrested after traveling to the bank

the day the robbery was expected to take place, see Gates, 462 U.S. at 238; see also

United States v. Sneed, 385 F. App’x 551, 557 (6th Cir. 2010) (unpublished) (finding

search warrant for a vehicle to be based on probable cause where affidavit considered



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as a whole connected defendant to robberies and supported an inference that

defendant would have kept instrumentalities from the robbery in the vehicle); United

States v. Cotton, No. 8:05CR116, 2005 WL 3133776, at *4-5 (D. Neb. Nov. 23, 2005)

(finding search warrants for vehicles to be based on probable cause where the

affidavit showed that defendants had been implicated by co-conspirators and

defendants were each arrested driving one of the vehicles).

      Dooley contends that the concluding sentence of the affidavit, which states that

Detective Whaley believes the facts establish probable cause to search the Jay Street

residence, and the description of items to be seized, which includes documents

relating to the ownership and occupants of a residence,11 show that the affidavit was

concerned only with the Jay Street residence and therefore did not establish probable

cause to search the Impala. See [Doc. 212; Doc. 297 at 2-3]. However, these errors or




       11
          Dooley also asserts that the affidavit “places [the Impala] in the category of
 items that are to be ‘searched for and seized.’” [Doc. 297 at 3 (citing [Doc. 212-1 at
 30])]. However, a review of the search warrant itself shows that the property to be
 searched for and seized consists of: (1) U.S. currency; (2) documents relating to
 ownership of residence and actual identity of occupants fo the residence; (3) ledgers
 and documents related to any associates of [Booker] or [Dooley] or Donyale Dooley;
 (4) cell phones, sim cards, thumb drives or any other digital devices that could
 reasonably contain names, addresses, and phone numbers; (5) phone records; (6)
 any guns, parts of guns, or documentation establishing ownership of a gun; and (7)
 ammunition, or parts or components thereof. [Doc. 212-1 at 1, 31]. This list, contrary
 to Dooley’s assertion, does not include the Impala itself. See [id.].

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alleged inconsistencies12 on the concluding page of the affidavit do nothing to change

the fact that the rest of the asserted facts are “sufficient to justify a conclusion that

evidence or contraband will probably be found [in the Impala].” United States v.

Martin, 297 F.3d 1308, 1314 (11th Cir. 2002). Indeed, the affidavit established probable

cause to believe that a cell phone may be found in the vehicle since surveillance

revealed that Dooley was using a cell phone to communicate with co-conspirators

while he was driving the Impala.13 Moreover, since firearms had been used in the

prior robberies, there was probable cause to believe that guns and ammunition would

be found in the vehicle that Dooley was driving and in which Henderson was a

passenger when they were arrested after calling off the planned robbery. Thus, the

judge’s decision to issue the search warrant was reasonable and non-arbitrary, see




        12
          Moreover, although Dooley contends that “searching a car will not reveal
 documents relating to the ownership of the residence or identity of the occupants
 of the residence,” [Doc. 297 at 3], the affidavit connected Dooley to both the Jay
 Street residence and the Impala, and a car could easily contain various documents
 relating to residence and identity, including driver’s licenses, vehicle registration,
 and insurance cards, see United States v. Butler, 793 F.2d 951, 953-54 (8th Cir. 1986)
 (noting that a “driver’s license [is] evidence tending to show identity of an occupant
 of [a] residence”).
        13
          The affidavit also states that Dooley was using multiple cell phones to
 communicate with co-conspirators, [Doc. 212-1 at 25], and any cell phone found in
 the car reasonably could be expected to contain names, addresses, phone numbers,
 and records of communications between Dooley and Booker and other co-
 conspirators.

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Sweeting, 933 F.2d at 964, and it is RECOMMENDED that Dooley’s motion to

suppress, [Doc. 212], be DENIED.

B.    Good Faith Exception

      Even if the Court determined that the search warrant for the Impala was not

supported by probable cause, the evidence seized from the vehicle pursuant to the

warrant would not be subject to suppression if the police reasonably relied in good

faith on the search warrant. Under United States v. Leon, 468 U.S. 897 (1984), “the

good faith exception to the exclusionary rule ‘stands for the principle that courts

generally should not render inadmissible evidence obtained by police officers acting

in reasonable reliance upon a search warrant that is ultimately found to be

unsupported by probable cause.’” United States v. Vanbrackle, 397 F. App’x 557, 559

(11th Cir. 2010) (per curiam) (unpublished) (quoting Martin, 297 F.3d at 1313); United

States v. Robinson, 336 F.3d 1293, 1295-96 (11th Cir. 2003). The exception is founded

on the principle that the exclusionary rule “is designed to deter police misconduct

rather than to punish the errors of judges and magistrates,” Leon, 468 U.S. at 916; see

also Herring v. United States, 555 U.S. 135,        137 (2009) (“[T]he question [of

suppression] turns on the culpability of the police and the potential of exclusion to

deter wrongful police conduct.”), and “[p]enalizing the officer for the magistrate’s




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error, rather than his own, [therefore] cannot logically contribute to the deterrence of

Fourth Amendment violations,” Leon, 468 U.S. at 921.

      The Supreme Court has outlined four situations in which the good faith

exception does not apply and suppression is warranted: (1) where the issuing judge

was mislead by information the affiant knew was false or which was made with

reckless disregard for the truth; (2) where the issuing judge abandoned his or her role

as a neutral and detached judicial officer; (3) where the affidavit in support of the

warrant so lacked an indicia of probable cause as to render belief in its existence

entirely unreasonable; and (4) where the warrant itself was so facially deficient that

the executing officers could not reasonable presume it to be valid. Leon, 468 U.S. at

923; United States v. Accardo 749 F.2d 1477, 1480 n.4 (11th Cir. 1985). Under this

exception, good faith is an objective standard judged by what a reasonable law

enforcement officer would perceive under the circumstances, not a standard judged

by a legally trained magistrate or judge. United States v. Taxacher, 902 F.2d 867,

871-72 (11th Cir. 1990).

      Dooley contends that the errors in the affidavit, including one instance in which

the place to be searched is misidentified and an allegedly illogical entry on the list of

items to be searched or seized, render the resulting warrant unconstitutional.

See [Doc. 212-1 at 30]. However, excluding evidence as a result of this kind of error



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does not serve the purpose of the exclusionary rule, as it was “designed as a means

of deterring police misconduct, not mistakes by court employees.” Arizona v. Evans,

514 U.S. 1, 14 (1995); see also Massachusetts v. Sheppard, 468 U.S. 981, 990-91 (1984)

(“Suppressing evidence because the judge failed to make all the necessary clerical

corrections . . . will not serve the deterrent function that the exclusionary rule was

designed to achieve.”). Moreover, the record contains no evidence suggesting that

the issuing judge was affirmatively misled by the affiant or abandoned his or her

neutral role in the judicial process, see Leon, 468 U.S. at 923, nor was the affidavit

such a “bare-bone statement of nothing more than conclusory allegations” as to

render belief in its existence unreasonable or the warrant so facially deficient that an

officer could not reasonably rely on it,14 United States v. Glinton, 154 F.3d 1245, 1257

(11th Cir. 1998) (citation and internal marks omitted); see also United States v.

Gonzalez, Criminal Action File No. 1:09-CR-00371-TWT/AJB, 2010 WL 2721882, at

* 20-21 (N.D. Ga. May 25, 2010), adopted by 2010 WL 2721540, at *1 (N.D. Ga. July 7,

2010) (citations omitted) (stating a search warrant for a residence was “not so lacking

in probable cause indicia” and finding that the good faith exception applied where

the supporting affidavit contained specific facts establishing a nexus between a



        14
         In fact, the warrant itself contains no errors at all; only the affidavit
 erroneously identifies the place to be searched in one instance. See [Doc. 212-1 at 30-
 32].

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robbery and the place to be searched and there was temporal proximity between the

robbery and the search). Thus, even were the Court to find that the search warrant

for the Impala violated the Fourth Amendment, the good faith exception to the

exclusionary rule would apply and Dooley’s motion to suppress is due to be denied.

                              III. CONCLUSION

      For the foregoing reasons and cited authority, it is RECOMMENDED that

Dooley’s motion to suppress evidence, [Doc. 212], be DENIED.

      IT IS SO RECOMMENDED, this 6th day of September, 2012.




                                     RUSSELL G. VINEYARD
                                     UNITED STATES MAGISTRATE JUDGE




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